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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                      )
                                              )
                  v.                          )       Criminal No. 22-CR-10038-IT
                                              )
ARIEL LEGASSA,                                )
                                              )
                        Defendant.            )

                       ORDER OF FORFEITURE (MONEY JUDGMENT)
TALWANI, D.J.

       WHEREAS, on February 17, 2022, a federal grand jury sitting in the District of

Massachusetts returned a ten-count Indictment, charging defendant Ariel Legassa (the

“Defendant”), with Mail Fraud, in violation of 18 U.S.C. § 1341 (Counts One through Seven); and

Money Laundering, in violation of 18 U.S.C. § 1957 (Counts Eight through Ten);

       WHEREAS, the Indictment also included forfeiture allegations, pursuant to 18 U.S.C.

§ 981(a)(1)(C) and 28 U.S.C. § 2461(c), which provided notice that the United States intended to

seek the forfeiture, upon conviction of the Defendant of one or more of the offenses alleged in

Counts One through Seven of the Indictment of any property, real or personal, which constitutes

or is derived from proceeds traceable to the offenses; and pursuant to 18 U.S.C. § 982(a)(1) upon

conviction of one or more of the offenses alleged in Counts Eight through Ten of any property,

real or personal, involved in such offenses, and any property traceable to such property;

       WHEREAS, the Indictment further provided that, if any of the above-described forfeitable

property, as a result of any act or omission by the Defendant, (a) cannot be located upon the

exercise of due diligence; (b) has been transferred or sold to, or deposited with, a third party; (c)

has been placed beyond the jurisdiction of the Court; (d) has been substantially diminished in

value; or (e) has been commingled with other property which cannot be divided without difficulty,
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the United States is entitled to seek forfeiture of any other property of the Defendant, up to the

value of such assets, pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c) and

18 U.S.C. § 982(b);

         WHEREAS, on November 3, 2023, after a 5-day jury trial, a jury found the Defendant

guilty on Counts One through Ten of the Indictment;

         WHEREAS, the evidence introduced at trial included testimony and exhibits established

that the Defendant obtained $575,500 in proceeds as the result of his offenses;

         WHEREAS, the United States has established that $575,500 is equal to the amount of

proceeds the Defendant derived from his offenses;

         WHEREAS, based on the evidence and testimony presented at trial and the jury’s verdict

as to the Defendant on November 3, 2023, the United States is entitled to an Order of Forfeiture

consisting of a personal money judgment against the Defendant in the amount of $575,500,

pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), which amount represents proceeds

that the Defendant derived from his offenses and the property involved in his offenses;

         WHEREAS, Rule 32.2(c)(1) of the Federal Rules of Criminal Procedure provides that Ano

ancillary proceeding is required to the extent that the forfeiture consists of a money judgment.@

         ACCORDINGLY, it is hereby ORDERED, ADJUDGED, and DECREED:

         1.       The Defendant shall forfeit to the United States the sum of $575,500, pursuant to

18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c).

         2.       This Court shall retain jurisdiction in the case for the purpose of enforcing this

Order.




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         3.       The United States may, at any time, move pursuant to Rule 32.2(e) of the Federal

Rules of Criminal Procedure to amend this Order to substitute property having a value not to

exceed the amount set forth in Paragraph 1 to satisfy the money judgment in whole or in part.

         4.       The United States may conduct, pursuant to Rule 32.2(b)(3) of the Federal Rules

of Criminal Procedure and 21 U.S.C. § 853(m), incorporated by 28 U.S.C. § 2461(c), any

discovery to identify, locate or dispose of forfeitable property or substitute assets, including, but

not limited to, depositions and requests for documents, electronically stored information, and

tangible things.

         5.       Pursuant to Rule 32.2(b)(4), this Order shall be included in the sentence pronounced

and imposed by the Court at the sentencing hearing, and in the criminal judgment entered by this

Court against the Defendant.




Dated:

                                                        INDIRA TALWANI
                                                        United States District Judge




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